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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR                 )            (WO)


                     JUDGMENT OF ACQUITTAL

    It is the ORDER, JUDGMENT, and DECREE of the court

that defendant Milton E. McGregor is not guilty of all

the charges against him.

    It is further ORDERED that defendant McGregor is

acquitted and discharged and any bond exonerated.

    DONE, this the 16th day of March, 2012.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
